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                      ARREST REPORT OBN 2022-1718/158


                     OKLAHOMA STATE BUREAU OF
                NARCOTICS AND DANGEROUS DRUGS CONTROL

                                      ARREST REPORT

Report Number: OBN 2022-1718/158                       Reporting Date: 01/10/2024
Reporting Agent: JEHLE, DAVID                          Case Status: OPEN

On January 9th, 2024, Agents with the Oklahoma Bureau of Narcotics (OBN),
Anti-Methamphetamine Task Force (AMTF), and the Drug Enforcement
Administration (DEA), conducted surveillance on a red Toyota Camry with
Oklahoma tribal plate: 04859CH. The following report details the surveillance
which subsequently led to a traffic stop, seizure of approximately 15.6lbs of
methamphetamine, and the arrest of Mondale GOLSTON.
Agents with the Oklahoma Bureau of Narcotics AMTF and DEA established an
investigation related to a Drug Trafficking Organization (DTO) involving the Irish
Mob Gang. During the investigation, agents received information from cooperating
defendants regarding the workings of the DTO. The DTO is currently being
operated by multiple inmates inside Oklahoma State Prisons. The investigation
has resulted in the arrest and seizure of significant quantities of
methamphetamine, fentanyl, firearms, and bulk currency. Numerous subjects have
been arrested and/or indicted throughout the investigation.

As a part of this investigation, on January 9th, 2024, Agents established
surveillance at the Newport Granada Apartments located at 3407 NW 39th St.,
Oklahoma City, Oklahoma, where Sarah ANNESLEY’s white Jeep (with Oklahoma
license plate NXS874) was parked.
Prior to January 9, 2024, law enforcement had identified the Newport Granada
Apartments as ANNESLEY’s residence. While doing surveillance, law enforcement
determined that ANNESLEY resided in Apartment 102. While on surveillance,
Agents observed ANNESLEY leave the apartment complex in the white Jeep
Compass. Surveillance was maintained on ANNESLEY as she drove to the
Hospitality Inn located at 3709 NW 39th Expressway, Oklahoma City, Oklahoma.
At approximately 1500, DEA SA Dent observed ANNESLEY’s vehicle parked next
to a red Toyota Camry bearing Choctaw Nation tribal tag 04859CH. SA Dent also
observed ANNESLEY walk in the vicinity of room 118 of the Hospitality Inn. The

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passenger of the Toyota, later identified as GOLSTON, exited the vehicle and
followed ANNESLEY toward 6 room 118. SA Dent subsequently observed
ANNESLEY and GOLSTON walking away from the vicinity of room 118.
When he returned to his vehicle, SA Dent observed GOLSTON placing a Marshalls
shopping bag in the passenger side of the Toyota. SA Dent observed ANNESLEY
and GOLSTON talking to each other as they walked away. DEA SA Gibson later
confirmed with hotel management that ANNESLEY rented room 118.
OBN and DEA Agents maintained surveillance on the red Toyota Camry and
requested a traffic stop on the vehicle. Subsequently, officers with OCPD and OHP
made a traffic stop on Toyota for a traffic violation near I-40 Eastbound and
Sooner Rd, Oklahoma City. The front seat passenger was identified as GOLSTON
and the driver of the vehicle was identified as Gloria BILLS.
I approached the vehicle after marked units had stopped it and could see a
Marshalls bag on the front passenger floorboard. Prior to this traffic stop, and on
the same day, OBN Agents had Logan STAPLETON stopped on a traffic after
meeting with ANNESLEY, and we recovered approximately 10 kilograms of
suspected methamphetamine from STAPLETON’S vehicle inside the same type of
Marshalls shopping bag.
Oklahoma County Sheriff Deputy Hefley arrived on scene and initially ran his drug
sniffing K-9 on the vehicle was it was parked in the road, but he believed the K-9
was distracted due to all the vehicles and traffic near the vehicle. The K-9 did not
initially alert on the vehicle and Deputy Hefley requested we move it to a nearby
parking lot away from traffic and people. Once he deployed his K-9 in the parking
lot on the vehicle, it positively alerted to the odor of the presence of narcotics in
the vehicle.
I conducted a probable cause search of the vehicle, based on law enforcement’s
observations of GOLSTON meeting with ANNESLEY and walking away with a
Marshalls shopping bag exactly matching the Marshalls bag we recovered with
suspected methamphetamine out of in STAPLETON’S vehicle (who himself who
had met with ANNESLEY before his stop), and the K-9’s positive alert.
In the vehicle, I recovered the Marshalls shopping bag in the front passenger
floorboard (Exhibit #1). Inside this bag, I located seven bags with a crystal
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substance, which later field tested presumptively positive for methamphetamine
and, in total, the seven bags weighed 15.6lbs (7,082.4g).
I located a purse in the center console area of the vehicle. Inside this purse, I
located various cards for Gloria BILLS, a turquoise SCCY 9mm handgun (Exhibit
#2), two handgun magazines (Exhibit #3) and 12 rounds of ammunition (Exhibit
#4).

I photographed paperwork in the vehicle showing it belonged to BILLS.

BILLS’ cell phone was in a cell phone holder attached the front windshield. Its
GPS was on, and it showed they were headed to Hugo, OK. I seized this cell
phone (Exhibit #5). On GOLSTON’s person at the time of his arrest, he had a cell
phone, which I too seized (Exhibit #6).
OCPD marked units transported both BILLS and GOLSTON to DEA-OKC HQ for
interviews. I interviewed both subjects there. See reports under
OBN2022-1718/159 and OBN2022-1718/160 for additional details of the interviews.
See OBN2022-1718/156 for additional details on the traffic stop and arrest of
STAPELTON.
BILLS’ vehicle was impounded with Barnes Wrecker service.
After interviewing both BILLS and GOLSTON, GOLSTON was arrested and taken
to Cleveland County Jail pending a federal criminal complaint. After consultation
with the US Attorney's office, BILLS was released pending further investigation.
On January 10th, 2024, Agent Tipton and I processed and packaged the seized
drug evidence. It was photographed, weighed, and placed back into temporary
storage pending the transfer to the Drug Enforcement Administration (DEA) to be
sent to the DEA lab for drug analysis.

On January 17th, 2024, Agent Tipton and I transferred Exhibit #1 to DEA SA
Wyckoff. DEA-12 receipt for evidence transfer is attached to this case file.


Seized Evidence:

Exhibit #1: $15.6lbs of methamphetamine in seven plastic bags. I transported
Exhibit #1 to OBN HQ and field tested the substance, receiving a positive
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presumptive test for methamphetamine. I secured the evidence in OBN HQ
property room. On January 10th, 2024, OBN Agent Tipton and I processed the
evidence, receiving a total weight of 15.6lbs between the seven bags. We placed
the seven bags in a box and sealed it with OBN seal #095857.

Exhibit #2: Turquoise SCCY 9mm handgun with serial number 897115. I found
this handgun in BILLS’ purse in her vehicle near the center console, and she later
told me it belonged to her and was registered to her in Arkansas. The handgun
was magazine loaded at the time I seized it. On January 9th, 2024, I transported
the handgun to OBN HQ and secured it in the property room.
Exhibit #3: Two handgun magazines. One handgun magazine was in the firearm
at the time I seized it, with the other magazine was in BILLS’ purse. On January
9th, 2024, I transported the two magazines to OBN HQ and secured them in the
property room.
Exhibit #4: 12 Rounds of ammunition. I collected these rounds from both of the
aforementioned magazines. On January 9th, 2024, I transported the ammunition
to OBN HQ and secured them in the property room.
Exhibit #5: Apple iPhone with IMEI 353967815755254. I located this cell phone in
BILLS’ vehicle and she told me it belonged to her. Exhibit #5 was placed into the
cell phone temporary storage pending a search warrant draft. The cell phone will
be submitted to property and evidence after cell phone extraction.
Exhibit #6: Apple iPhone with IMEI 353781185284476. OCPD located this cell on
GOLSTON’s person at the time of his arrest. OCPD gave custody of the phone to
me. Exhibit #6 was placed into the cell phone temporary storage pending a search
warrant draft. The cell phone will be submitted to property and evidence after cell
phone extraction.




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